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                         UNITED STATES BANKRUPTCY COURT

                        SOUTHERN DISTRICT OF OHIO (DAYTON)


 IN RE:                                         * CASE NO.: 19-30822
                                                *
 TAGNETICS INC.                                 * CHAPTER 7
                                                *
        INVOLUNTARY DEBTOR                      * NOTICE OF SUBMISSION

______________________________________________________________________________

                                   NOTICE OF SUBMISSION



       Now comes the Petitioning Creditors S-Tek Inc. and Kayser Ventures Ltd., by and

through counsel, and hereby provide notice that they have submitted to Involuntary Debtor

Tagnetics, Inc., digital copies and physical copies of their first set of Interrogatories and Request

for Production of Documents on this 23rd day of May, 2019.



                                                 Respectfully submitted,

                                                 /s/ Christopher L. Wesner_____________
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                               CERTIFICATE OF SERVICE

       I hereby certify that this document was served by email and/or regular U.S. mail, postage
prepaid, this 23rd day of May, 2019 upon the following:



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                                              /s/ Christopher L. Wesner________________
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